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                                                                                         Alina Habba, Esq.
                                                                                        Managing Partner
                                                                                   ahabba@habbalaw.com
                                                                            Admitted to practice in NJ, NY & CT




                                                                                    January 30, 2024
VIA ECF
The Honorable Lewis A. Kaplan, U.S.D.J.
United States District Court
Southern District of New York
500 Pearl Street
New York, New York 10007
        Re:     Carroll v. Trump
                Civil Case No.: 1:20-cv-7311-LAK-JLC
Dear Judge Kaplan:

       I write in response to the letter submitted earlier today by Plaintiff’s lead counsel, Roberta
Kaplan. ECF 282. In her letter, Ms. Kaplan mischaracterizes the substance of a letter recently
submitted on behalf of President Trump, see ECF 281, and makes inflammatory and unwarranted
accusations against the undersigned.

         Contrary to Ms. Kaplan’s contention, there are no “false allegations of a ‘mentor-mentee
relationship between Your Honor and [Ms. Kaplan]’” contained in my January 29 letter. ECF 282
at 1. The purpose of the letter was simply to inquire as to whether there is any merit to a recently
published New York Post story which reported on the alleged existence of such a relationship. See
ECF 282, Ex. A. To be clear, this claim originated solely from the New York Post, where it was
purportedly sourced from a “former Paul Weiss partner who asked not to be named.” Id. at 2. I
played no part in uncovering this information; have never communicated with the unnamed Paul
Weiss partner; and have no personal knowledge as to whether the information contained in the article
is true or false. As I stated in my January 29 letter, I “learned for the first time” about the purported
mentor-mentee relationship from the New York Post. ECF 281 at 1. Although I am quoted in the
article, my statements were given in response to the reporter’s request for comment (which, per the
article, was also sought from Kaplan Hecker & Fink).

        The point of my January 29 letter was to verify whether the information contained in the New
York Post article is accurate. Since Ms. Kaplan has now denied that there was ever a mentor-mentee
relationship between herself and Your Honor, this issue has seemingly been resolved.1

        We thank the Court for its attention to this matter.

                                                Respectfully submitted,


                                                Alina Habba, Esq.
                                                For HABBA MADAIO & ASSOCIATES LLP
1
 There are, however, various other issues relating to the Court’s conduct, including potential bias
hostility towards defense counsel, that will be raised in post-trial motions and on appeal.


     1430 U . S. Highway 206 , Su ite 240 , Be dm in ste r, NJ 07921 ▪ Te l. 908 .869 .1188
